   Case 5:19-cv-00002-EKD Document 1 Filed 11/20/18 Page 1 of 3 Pageid#: 1



                     IN THE UNITED STATES DISTRICT COURT
                    FO R TH E W ESTERN DISTRICT OF W RGINIA
                             HAM SONBURG DIVISION
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                                                                   :e:œ .l* :Fr .U.y.um;a..ysy.Jx
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                                                                       œ ATO    SW BURZ VN '
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IVETTE LAN-AU RS,As M OTH ER ANo                                                      FllVn             '      '2
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NA TUR AL G UA R D IA N o F H ER                                                j
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DAUGHTER,DY           Aœ     ,A MINOR,
                                                                          ) .
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                                                                                                   '
      Plaintz                                                                             59$î-mc-o 5
                                                      Underlying Litigation:
                                                      CivilCaseNo.18-cv-13925
M ET LIFE,IN C .,and                                  U nited States D istlictCoul't
CISCO SYSTEM S,INC.,                                  DistrictofNew Jersey

      De# ndants.

M ETROPOLITAN LIFE INSUM NCE
C O M PAN Y ,

      Third pcr/.yPlaint?



D.A.,A M JNOR,and M ELISSA PH ILIPS
R O H RER ,

      Third 'lr/.yDe#ndants.


                        M OTION TO COM PEL NON-PARTIES
                    JU STIN A C UTLER AN D M ICH AEL R O H R ER
                TO CO M PLY W ITH PRO PERLY SERV ED SUBPO EN A S

      Pursuantto Rule 45 oftheFederalRulesofCivilProcedure,Third Party Defendant,
                                                                           ,              '


D.A.,aM inor,respectfully m ovesto compelcom plianceby non-partiesJustina Cutlerand

MichaelRohrer(the''W itnesses''),whoresideinW inchester,Virginia,with Subpoenasto
ProduceDocllments,lnfonnation,orObjectsortoPermitInspection ofPremisesinaCivil
Action (the''Subpoenas''),issuedf'
                                 rom theUnitedStatesDistrictCout'tfortheDistrictofNew
   Case 5:19-cv-00002-EKD Document 1 Filed 11/20/18 Page 2 of 3 Pageid#: 2




Jersey andproperly served upontheW itnesses,by orderingtheproduction ofal1responsive

doctlm ents requested.

       Thegroundsin supportofthism otion aresetforth in the accom panying m emorandum of

law and a11otherpleadingsandproceedingshad intheunderlying litigation andto behadherein.

       W HEREFORE,Third Party Defendant,D .A.,aM inor,respectfully requeststhatthis

Courtenteran Ordercompelling Justina CutlerandM ichaelRohrerto comply fully with the

Subpoenas,andgrantsuchfurtherreliefasthisCourtdeemsjustandproper.
Dated:N ovem ber20,2018




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                                           2
   Case 5:19-cv-00002-EKD Document 1 Filed 11/20/18 Page 3 of 3 Pageid#: 3




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      A copy oftheforegoing,including allincop orated exhibits,wasm ailedto thefollowing

partieson this20th day ofNovember,2018:

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                          AttorneyforThirdpartyDe# ndant,M elissaPhillipsRohrer



                                                          z'               .


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